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wEsTERN DIvIsIoN 05 SEP _2
UNITED sTATEs oF AMERICA ) WMASM. GOULD
) CLEHK HS ?`SWCTCOLHT
Plaintiff, ) ` {_‘.-V *‘»P*PH!S
)
vs ) cR. No. 04-20134-M1
)
JOHN KNOX )
)
Defendant. )

 

ORDER ON JURY VERDICT

 

This cause came on for trial on August 29, 2005, the United States Attorney
for this District, David Pritchard, representing the Government, and the
defendant, John Knox, appearing in person and with counsel, Handel Durham.

Jurors were selected and swornn After listening to opening statements, all
of the proof, closing arguments and jury charge, the jurors were excused to begin
deliberation.

After due deliberation, the jury returned in open court on September l,
2005, and announced a verdict of GUILTY as to Count 4 of the Indictment. The
jury was not able to reach a verdict as to Counts l, 2, 3 and 5 of the
Indictment.

Jurors were polled individually.

The SENTENCING HEARING as to Count 4 is SET On THURSDAY, DECEMBER l, 2005
at 9:00 A.M. in Courtroom Number 4, 9th Floor, before Judge Jon Phipps McCalla.

A mistrial was declared as to Counts l, 2. 3 and 5 and those counts were
set for Friday, September 23, 2005 at 9:00 A.M. for Report with a trial date of
Monday, October 3, 2005 at 9:30 A.M.

ns to Counts 1, 2, 3 and 5, the period from September 16, 2005 through

October 14, 2005 is excludable under 18 U.S.C. § 3161(h)(8)(A) because

the ends of justice outweigh the need for a speedy trial.

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Defendant was remanded to the custody of the United States Marshal.

ENTERED this the §§ day of September, 2005.

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J PHIPPS M¢CALLA
ITED STATES DISTRICT JUDGE

    
 

UN11EDSTEATSD1STR1CT COURT - WETRSE DISTR1CT TENNESSEE

 
 

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Honorable .1 on McCalla
US DISTRICT COURT

